Case 2:08-cr-00327-SRC       Document 360   Filed 03/03/10    Page 1 of 4 PageID: 1661




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                            HON.     STANLEY R.    CHESLER



      v.                                            Crim.     No.   O8-327(SRC)



ANDREW MEROLA,      ET AL.                   :      ORDER




      This matter having been opened to the Court on the joint

application of the United States of America and the defendant

Martin Taccetta      (through his counsel),        for an order declaring

this matter to be a complex case pursuant to Title 18,                    United

States Code,      Section 3161(h) (8) (B) (ii);     and the Court having

considered the arguments of counsel;             and the defendant being

aware that absent such a finding they would have a right to be

tried within seventy days of his first appearance in this

district in connection with this matter,             pursuant to 18 U.S.C.

§ 3161 (c) (1);    and the charges being the result of a lengthy

investigation and the defendant needing sufficient time to review

extensive discovery and to investigate the charges and file

motions in this case;         and Paul J.   Fishman,   United States Attorney

for the District of New Jersey          (Bohdan Vitvitsky,          Assistant U.S.

Attorney,   appearing)       having concurred in the assertion that this

matter is complex as defined in the statute;                 and the Court having
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Case 2:08-cr-00327-SRC    Document 360    Filed 03/03/10   Page 3 of 4 PageID: 1663



        8.    The grant of a continuance will enable counsel for the

defendant to adequately review the discovery,              prepare motions and

proceed with trial.

        9.    Pursuant to Title 18 of the United States Code,            Section

3161(h) (8),     the ends of justice served by granting the

continuance outweigh the best interests of the public and the

defendants in a speedy trial.

        WHEREFORE,   it is on this   *q    day of March,      2010

        ORDERED that the this matter is hereby designated a complex

case;

        IT IS FURTHER ORDERED THAT the proceedings in the above-

captioned matter are continued from March 12,              2010 to and

including July 6,       2010;

        IT IS FURTHER ORDERED that the period between March 12,

2010,    and July 6,    2010 shall be excludable in computing time

under the Speedy Trial Act of 1974;

        IT IS FURTHER ORDERED that the Government shall file its

papers in opposition to defendant’s motions no later than March

22,   2010;   and

        IT IS FURTHER ORDERED that the return date and time for the

pretrial motions       is April 6 at 10:00;    and
         Case 2:08-cr-00327-SRC   Document 360   Filed 03/03/10   Page 4 of 4 PageID: 1664




                 IT TS FtJRTNER OPDERED that trial shall commence on July 6,

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          Bhdn Vitvitky
     •    Assist U.S. Attorney




          Maria. I)elQraizo oto Esq
          Counel fox defendant Martin Tacctta




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